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                     EXHIBIT C


   REDACTED VERSION OF
  DOCUMENT SOUGHT TO BE
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     Document withheld for privilege




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           Memberships Subscriptions
           Executive Update, 8/20/2018


           Overview
           • There is a rising trend of physical goods and services developers selling membership
               subscriptions that provide access to various benefits (e.g. unlimited free deliveries,
               discounts, exclusive access). Amazon Prime is a classic example.
           • Multiple apps have launched or are planning to launch memberships programs,
               where the purchase of the membership is de-coupled from the purchase of the
               actual product or service. For example, Uber and Lyft are currently testing various
               subscription models
                                       and will likely launch in market later this year.
           • The Business Management team has introduced a framework for monetizing
               memberships subscriptions using in-app purchase. We believe Membership
               Subscriptions can become a key lever to drive revenue from some of our most
               popular free apps.
           • In addition to the apps that currently oﬀer membership subscriptions (e.g.
               Postmates, Costco, and Instacart), there are many additional apps that could benefit
               from a membership subscription (e.g. Nordstrom, Alibaba, Ticketmaster). Our team
               would like to begin proactively pitching these partners to oﬀer membership
               subscriptions and to discuss the benefits of IAP, once the App Store policy is
               finalized.




           Details by Category and App

           Ride Sharing




           1




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               • Communication with developer on Membership Subscriptions:
                - Spring 2018: After learning that Lyft was testing membership subscriptions, the
                  Business Management team engaged with them to learn about the oﬀerings.
                - July 12, 2018: The Business Management team met with Lyft and notified that
                  the proposed subscription may need to use in-app purchase. Lyft expressed
                  concern about Apple’s commission and stated that their subscription programs


                - July 19, 2018: The Business Management and AMP Operations team met with
                  Lyft to discuss the benefits of using Apple’s in-app purchase system and to
                  answer their operational questions regarding fraud, enhanced receipts,
                  promoted IAPs and other topics.
                - July 19, 2018: Matt, Carson and Sheree had a call with Logan, the CEO of Lyft,
                  and the topic of membership subscriptions came up Matt told Logan that IAP
                  would be required for subscription oﬀerings so long as the subscription was not
                  for a prepaid set of ride. Logan expressed his concern with Apple’s commission
                  and ask for clarification about the policy, which he felt was confusing. For
                  example, he asked whether subscriptions that oﬀered a fixed discount on all
                  rides as well as limited number of pre-paid rides would require the use of IAP.
                  We told him that each subscription oﬀering would need to be address on a case
                  by case basis.

               • Concerns from Developer :
                - Apple’s 30% Commission: Lyft expressed significant concern with the 30%
                  commission since they stated that the memberships




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